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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TRIBUNE COMPANY, et al,

Debtors.

Chapter 11

Case No. 08-13141 (KJC)

Jointly Administered

Objection Date: November 14, 2011 at 4:00 p.m.

Hearing Date: Only if Objections are filed

NOTICE OF FEE APPLICATION

David M. Klauder, Esquire
Office of the United States Trustee
J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801
(U.S. Trustee)

Kenneth P. Kansa, Esquire
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One South Dearborn Street
Chicago, IL 60603
(Counsel to Debtors)

Donald S. Bernstein, Esquire
James A. Florack, Esquire
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450 Lexington Avenue

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(Counsel to Administrative Agent for
Prepetition Lenders, JPMorgan Chase

Bank, N.A.)

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Wilmington, DE 19801

(Counsel to Barclays Bank PLC)

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919 Market Street, Ste. 1800
Wilmington, DE 19801

(Counsel to Creditors’ Committee)

John L. Decker, Esquire
Stuart Maue

3840 McKelvey Rd.

St. Louis, MO 63044
(Fee Auditor)

PLEASE TAKE NOTICE that, on October 24, 2011, the Monthly Fee Application of
Davis Wright Tremaine LLP as Special Counsel to Debtors for Domestic Legal Matters, for
Allowance of Compensation and Reimbursement of Expenses for the Period January 1,
2011 through January 31, 2011 (the “Application”), which seeks approval of a monthly fee
application for professional services rendered to the Debtors in the amount of $45,611.55,
together with reimbursement of disbursements in the amount of $954.30, was filed with the

Court.

You are required to file a response, if any, to the Application on or before November 14,

2011 at 4:00 p.m. (Eastern Time).

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At the same time, you must also serve a copy of the response upon Applicant and
Debtors’ counsel so that it is received by 4:00 p.m. on November 14, 2011:

Norman L, Pernick, Esquire Kenneth P. Kansa, Esquire Kelli L. Sager, Esquire

J. Kate Stickles, Esquire Jillian K. Ludwig, Esquire DAVIS WRIGHT TREMAINE LLP
COLE, SCHOTZ, MEISEL, SIDLEY AUSTIN LLP 865 S. Figueroa Street, Suite 2400
FORMAN & LEONARD, P.A. One South Dearborn Street Los Angeles, CA 90017-2566
500 Delaware Avenue, Suite 1410 Chicago, IL 60603

Wilmington, DE 19801 kkansa@sidley.com

npernick@coleschotz.com

A HEARING ON THE APPLICATION WILL BE HELD, ONLY IF AN OBJECTION
IS TIMELY FILED, OR THE COURT DIRECTS OTHERWISE, AT A DATE AND TIME TO
BE SCHEDULED BEFORE THE HONORABLE KEVIN J. CAREY, U.S. BANKRUPTCY
JUDGE, U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH
MARKET STREET, 5‘ FLOOR, WILMINGTON, DELAWARE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: October 24, 2011 SIDLEY AUSTIN LLP
James F. Conlan
Bryan Krakauer
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000

-and-
COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.
~
By: fof Sud
Norman L. Pernick (No. 2290)
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ATTORNEYS FOR THE DEBTORS
AND DEBTORS IN POSSESSION

46429/0001-7760879v5
